
The Office of Attorney Ethics having filed with the Court a petition pursuant to Rule 1:20-3(g) (4) and Rule 1:20-11, seeking the immediate temporary suspension from the practice of law of JEFF H. GOLDSMITH of FORT LEE , who was admitted to the bar of this State in 1984, and good cause appearing;
It is ORDERED that JEFF H. GOLDSMITH is temporarily suspended from the practice of law, effective immediately and until the further Order of this Court; and it is further
ORDERED that JEFF H. GOLDSMITH be restrained and enjoined from practicing law during the period of his suspension; and it is further
ORDERED that all funds, if any, currently existing or hereinafter deposited in any New Jersey financial institution maintained by JEFF H. GOLDSMITH pursuant to Rule 1:21-6 shall be restrained from disbursement expect on application to this Court for good cause shown, pending the further Order of this Court; and it is further
ORDERED that JEFF H. GOLDSMITH comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that the entire record of this matter be made a permanent part of the respondent's file as an attorney at law of this State.
